          Case 5:21-cr-00321-F Document 1 Filed 11/16/21 Page 1 of 2


                                                                                     ED
            IN THE UNITED STATES DISTRICT COURT FOR THE |^0V 1 6 2021
                       WESTERN DISTRICT OF OKLAHOMA                        ^ita reeder shinn,clerk
                                                                   U.S. DIST. COURT, WESTERN DIST. OKLA.
                                                                   BY                          ngPtiTv

UNITED STATES OF AMERICA,

                      Plaintiff,
                                                No.
             - vs -



BETTIE SUE CALDWELL,                            Violations: 18U.S.C. §2111
                                                            18U.S.C. § 1153
                      Defendant.                            18 U.S.C. § 2
                                                            18 U.S.C.§ 113(a)(3)

                                   INDICTMENT

The Federal Grand Jury charges:

                                      COUNT 1
                              (Robbery in Indian Country)

      On or about January 18, 2020, in Indian country, within the Western District of

Oklahoma,

                               BETTIE SUE CALDWELL,

an Indian, did take and attempt to take from the person and presence of J.B., an Indian,

something of value, to wit: a wallet and U.S. currency, by force and violence, and

intimidation, and aided and abetted the same.
           Case 5:21-cr-00321-F Document 1 Filed 11/16/21 Page 2 of 2




      All in violation of Title 18, United States Code, Sections 2111, 1153, and 2, the

penalty for which is found in Title 18, United States Code, Section 2111.

                                       COUNT 2
               (Assault with a Dangerous Weapon in Indian Country)

       On or about January 18, 2020, in Indian country, within the Western District of

Oklahoma,

                              BETTIE SUE CALDWELL,

an Indian, did, without just cause or excuse, unlawfully assault J.B. with a dangerous

weapon, to wit; a metal bar, with intent to do bodily harm.

       All in violation of Title 18, United States Code, Sections 113(a)(3) and 1153, the

penalty for which is found in Title 18, United States Code, Section 113(a)(3).



                                             A TRUE BILL:




                                             FOREPERSON OF THE GRAND JURY



ROBERT J. TROESTER
Acting United States Attorney




ERIKAJvUSIMPSON
Special Assistant United States Attorney




                                            2
